   Case 3:20-cr-03055-JLS Document 27 Filed 11/05/20 PageID.64 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA                     )   Case No.: 20-CR-03055-JLS
                                               )
                            Plaintiff,         )
                                               )
         vs.                                   )
                                               )   ORDER CONTINUING MOTION
  JESSICA MORALES,                             )   HEARING/TRIAL SETTING
                                               )
                                               )
                                               )
                           Defendant.          )   Judge: Hon. Janis L. Sammartino
                                               )
                                               )



       Pursuant to joint motion and good cause appearing, IT IS HEREBY ORDERED that the

motion hearing/trial setting in this case shall be continued from November 6, 2020 to November

20, 2020 at 1:30 p.m. Time is excluded pursuant to 18 U.S.C. § 3161(h)(1)(D).

       IT IS SO ORDERED.

Dated: November 5, 2020
